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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF REQUEST TO                   :
MAKE PUBLIC LIST OF                           :       Case No. 19-MC-00058 (BAH)
INVESTIGATIVE MATTERS                         :
RELATED TO SPECIAL COUNSEL’S                  :
INVESTIGATION                                 :

                            GOVERNMENT’S STATUS REPORT

       The United States of America, by and through the United States Attorney for the District

of Columbia and the Department of Justice, National Security Division, submits this status report

regarding the request to make public the lists of investigative matters related to the Special

Counsel’s investigation. The government respectfully requests that the Court redact certain

information contained in those lists, in order to protect law enforcement and intelligence interests.

The government is filing, in camera and ex parte, its proposed redactions and a declaration

explaining the bases for those redactions.


                                                              Respectfully submitted,


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                                                              DC Bar Number 472845

By: /s/                                                  By: /s/
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Dated: June 18, 2019
